         Case 2:07-cr-00331-TLN Document 54 Filed 08/28/08 Page 1 of 1


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 5
 6                             UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )               CR. NO. 2:07-CR-331-LKK
 9                                         )
                           Plaintiff,      )
10                                         )               ORDER
     vs.                                   )               CONTINUING STATUS
11                                         )               CONFERENCE TO
     JOSE MANUEL MAGAÑA,                   )               SEPTEMBER 3, 2008
12                                         )
                           Defendant.      )
13   _____________________________________ )
14          This matter came on for a status conference on August 19, 2008, before the Honorable
15   Lawrence K. Karlton. Defendant José Manuel Magaña was present with Gilbert A. Roque, his
16   appointed counsel, and Assistant United States Attorney Heiko P. Coppola appeared for
17   Plaintiff. All parties agreed that the matter be scheduled for further status conference on
18   September 3, 2008, at 9:30 a.m., before the Honorable Lawrence K. Karlton.
19         In addition, it was agreed that the Court should find excludable time through September
20   3, 2008, pursuant to Local Rule T-4.
21                                           Respectfully submitted,
22   DATED: August 19, 2008                  /s/ Gilbert A. Roque
                                             GILBERT A. ROQUE, Attorney for
23                                           JOSE MANUEL MAGAÑA, Defendant
24
25         IT IS SO ORDERED.
26
     DATED:       August 28, 2008
27
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